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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 20-80027-CIV-ALTMAN/Brannon

  THE LOMNITZER LAW FIRM, P.A.,

         Plaintiff,
  v.

  MALIBU MEDIA, LLC,

        Defendant.
  _________________________________/

                  ORDER ON DEFAULT FINAL JUDGMENT PROCEDURE

         THIS MATTER comes before the Court on the Clerk’s Entry of Default [ECF No. 9].

  Upon review of the record, it appears that the Defendant has indeed failed to respond to the

  Complaint [ECF No. 1] or otherwise appear in this action. Therefore, the Court hereby

         ORDERS AND ADJUDGES that the Plaintiff must file one of the following two

  responses by February 27, 2020:

         (1) Where there is only one Defendant, or where there are multiple Defendants1 but no

  allegations of joint and several liability and no possibility of inconsistent liability between the

  Defendants, the Plaintiff shall file a motion for default final judgment.

         The motion for default final judgment must include affidavits of any sum certain due by

  the Defendants, as well as any other supporting documentation that might be necessary to

  determine the Plaintiff’s measure of damages. The motion shall also be accompanied by (1) the

  affidavit required under the Servicemembers Civil Relief Act, 50 U.S.C. § 3931(b), if applicable;

  (2) a proposed order; and (3) a proposed final judgment. (These last two are required by Local



  1
    If there are multiple Defendants, the Plaintiff must state in the motion for default final judgment
  that there are no allegations of joint and several liability and explain why there is no possibility of
  inconsistent liability.
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  Rule 7.1(a)(2)). Pursuant to the CM/ECF Administrative Procedures, the proposed orders shall be

  submitted to the Court by e-mail in Word format to altman@flsd.uscourts.gov. The Plaintiff

  shall send a copy of the motion to each of the Defendants. In the certificate of service, the Plaintiff

  shall indicate that notice was sent and identify the addresses to which it was sent.

         If the Defendants fail to move to set aside the Clerk’s Default or to respond to the motion

  for default final judgment within the time permitted by the Rules, default final judgment may be

  entered, which, simply put, will mean that the Plaintiff may be able to take the Defendants’

  property or money and/or obtain other relief against the Defendants.

         (2) Where there are multiple Defendants and allegations of joint and several liability, or

  where there exists the possibility of inconsistent liability between the Defendants, the Plaintiff

  shall file a notice of joint liability. See Frow v. De La Vega, 82 U.S. 552, 554 (1872); 10A Charles

  Alan Wright and Arthur R. Miller, FEDERAL PRACTICE          AND   PROCEDURE § 2690 (3d ed. 1998)

  (citing Frow, 82 U.S. at 554); see also Gulf Coast Fans, Inc. v. Midwest Elecs. Imp., Inc., 740 F.2d

  1499, 1512 (11th Cir. 1984).

         The notice of joint liability must briefly describe the allegations and advise the Court of

  the status of the other Defendants’ liability. Once liability is resolved as to all of the Defendants,

  the Plaintiff may, no later than 14 days thereafter, move for the entry of default final judgment

  against the Defendants, as described in (1) above.

         The Plaintiff’s failure to file for a motion for default final judgment or notice of joint

  liability within the specified time will result in a dismissal without prejudice.




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        DONE AND ORDERED in Fort Lauderdale, Florida this 19th day of February 2020.




                                               _________________________________
                                               ROY K. ALTMAN
                                               UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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